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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

In re: TESTOSTERONE                                   )
REPLACEMENT THERAPY                                   )       Case No. 14 CV 1748
PRODUCTS LIABILITY LITIGATION                         )       MDL No. 2545
                                                      )

     JOINT MOTION FOR AN EXTENSION OF TIME FOR THE PARTIES TO FILE
               THEIR PROPOSED CASE MANAGEMENT ORDERS

        Plaintiffs and Defendants respectfully move for an extension of time for the parties to file

their proposed case management orders (“CMO”) as required in the Court’s February 1, 2018

minute order. See ECF No. 2354. In the order, the Court ordered the parties to confer and submit

CMOs by February 16, 2018 for the submission of pretrial materials (1) in existing bellwether

cases, and (2) for the CMO 75 cases and the CMO 87 “group 1” and “group 2” cases.

        The parties request a one-week extension for the submission of pretrial materials in existing

bellwether cases, moving the deadline from February 16 to February 23; and a two-week extension

for the submission of pretrial materials for the CMO 75 and 87 cases, moving the deadline from

February 16 to March 1. The parties do not seek to amend any other deadlines and this brief

extension will not otherwise impact the schedule established by the Court.1

        Good cause exists for the requested extension. See Fed. R. Civ. Pro. 6(b)(1)(A) and

16(b)(4). The pretrial materials cover a number of things including motions in limine, deposition

designations and objections, exhibit designations and objections, jury instructions, and voir dire

questions. In addition, the parties are required to confer on proposals regarding supplementation




1
 The parties are not requesting an extension of time to submit the proposed CMO regarding “a
plan to select and work up 100 Actavis cases for all pretrial purposes” required by the same
minute order.
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of expert reports and any other recurring trial-related issues. While the parties are currently

attempting to gather all of this information, additional time is required to file the proposed CMOs.

       For the foregoing reasons, the parties jointly request the Court grant the extension.

Dated: February 14, 2018                             Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2018 the foregoing document was filed via the Court’s

CM/ECF system, which will automatically serve and send email notification of such filing to all

registered attorneys of record.

                                                    /s/ Michelle H. Yeary
                                                    Michelle Hart Yeary
